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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                             CASE NO. 2:15-CR-00018-TLN
12                                 Plaintiff,              STIPULATION REGARDING EXCLUDABLE
                                                           TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                             FINDINGS AND ORDER
14   HAMMURABI HERNANDEZ, AND                              DATE: March 5, 2015
     JORGE MEDINA,                                         TIME: 9:30 a.m.
15                                                         COURT: Hon. Troy L. Nunley
                                  Defendants.
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17
                                                  STIPULATION
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            1.      By previous order, this matter was set for status on March 5, 2015.
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            2.      By this stipulation, defendants now move to continue the status conference until April 16,
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     2015, at 9:30 a.m., and to exclude time between March 5, 2015, and April 16, 2015, under Local Code
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     T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)      The government has represented that the discovery associated with this case
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            includes investigative reports, state records, the defendants’ RAP sheets, and a CD containing a
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            recorded conversation between the defendants. All of this discovery has been either produced
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            directly to counsel and/or made available for inspection and copying.
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                    b)      Counsel for defendants desire additional time to review the materials, conduct
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            further investigation, consult with their clients, prepare for trial, and conduct pre-trial

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND       1
      ORDER
                Case 2:15-cr-00018-TLN Document 24 Filed 02/11/15 Page 2 of 3


 1           negotiations.

 2                   c)      Counsel for defendants believe that failure to grant the above-requested

 3           continuance would deny counsel the reasonable time necessary for effective preparation, taking

 4           into account the exercise of due diligence.

 5                   d)      The government does not object to the continuance.

 6                   e)      Based on the above-stated findings, the ends of justice served by continuing the

 7           case as requested outweigh the interest of the public and the defendant in a trial within the

 8           original date prescribed by the Speedy Trial Act.

 9                   f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10           et seq., within which trial must commence, the time period of March 5, 2015 to April 16, 2015,

11           inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12           because it results from a continuance granted by the Court at defendants’ request on the basis of

13           the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14           of the public and the defendant in a speedy trial.

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        STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     2
        ORDER
                  Case 2:15-cr-00018-TLN Document 24 Filed 02/11/15 Page 3 of 3


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 2           4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5           IT IS SO STIPULATED.

 6
     Dated: February 10, 2015                                  BENJAMIN B. WAGNER
 7                                                             United States Attorney
 8
                                                               /s/ OLUSERE OLOWOYEYE
 9                                                             OLUSERE OLOWOYEYE
                                                               Assistant United States Attorney
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11
     Dated: February 10, 2015                                  /s/ LEXI NEGIN
12                                                             LEXI NEGIN
13                                                             Counsel for Defendant
                                                               HAMMURABI HERNANDEZ
14

15 Dated: February 10, 2015                                    /s/ GILBERT ROQUE
                                                               GILBERT ROQUE
16                                                             Counsel for Defendant
                                                               JORGE MEDINA
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                                              FINDINGS AND ORDER
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             IT IS SO FOUND AND ORDERED this 10th day of February, 2015.
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26                                                                     Troy L. Nunley
                                                                       United States District Judge
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        STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     3
        ORDER
